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Exhibit 13 ©
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Aug 27, 2005

Governor Blanco asks President to Declare an Emergency for th
State of Louisiana due to Hurricane Katrina

BATON ROUGE-Today Governor Kathleen Babineaux Blanco forwarded a letter to President Bush

requesting that he declare an emergency for the State of Louisiana due to Hurricane Katrina. The full tex!
the letter follows:

August 27, 2005

The President The White House Washingion, D. C.

Through: Regional Director FEMA Region VI 800 North Loop 288 Denton, Texas 76209

Dear Mr. President:

Under the provisions of Section 501 (a) of the Robert T. Stafford Disaster Relief and Emergency Assistar
Act, 42'U.S.C. 00 5121-5206 (Stafford Act), and implemented by 44 CFR © 206.35, | request that you
declare an emergency for the State of Louisiana due to Hurricane Katrina for the time period beginning
August 26, 2005, and continuing. The affected areas are all the southeastern parishes including the New

Orleans.Metropolitan area and the mid state Interstate I-49 corridor and northern parishes along the |-20
corridor that are accepting the thousands of citizens evacuating from the areas expecting to be flooded a:

‘result of Hurricane Katrina. In response to the situation | have taken appropriate action under State law a
“directed the execution of the State Emergency Plan.on August 26, 2005 in accordance with Section 501 :

of the Stafford Act. A State of Emergency has been issued for the State in order to support the evacuatio
of the coastal areas in accordance with our State Evacuation Plan and the remainder of the state to supp
the State Special Needs and Sheltering Plan.

Pursuant to 44 CFR [1 206.35, | have determined that this incident is of such severity and magnitude that
effective response is beyond the capabilities of the State and affected local governments, and that
supplementary Federal assistance is necessary to save lives, protect property, public health, and safety,
to lessen or avert the threat of a disaster. | am specifically requesting emergency protective measures, di
Federal Assistance, Individual and Household Program (!IHP) assistance, Special Needs Program
assistance, and debris removal. Preliminary estimates of the types and amount of emergency assistance
needed under the Stafford Act, and emergency assistance from certain Federal agencies under other
statutory authorities are tabulated in Enclosure A,

The following information is furnished on the nature and amount of State and local resources that have bi
or will be used to alleviate the conditions of this emergency: « Department of Social Services (DSS): Oper
(3) Special Need Shelters (SNS) and establishing (3) on Standby. » Department of Health and Hospitals

- (DHH): Opening (3) Shelters and establishing (3) on Standby. * Office of Homeland Security and Emerge

Preparedness (OHSEP): Providing generators and support staff for SNS and Public Shelters. + Louisiana
State Police (LSP): Providing support for the phased evacuation of the coastal areas. + Louisiana
Department of Wildlife and Fisheries (WLF): Supporting the evacuation of the affected population and .
preparing for Search and Rescue Missions.

Mr. President Page Two August 27, 2005

* Louisiana Department of Transportation and Development (DOTD): Coordinating traffic flow and
management of the evacuations routes with local officials and the State of Mississippi. :

The following information is furnished on efforts and resources of other Federal agencies, which have be:
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| certify that for this emergency, the State and local governments will assume all applicable non-Federal
share of costs required by the Stafford Act.

| request Direct Federal assistance for work and services to save lives and protect property.
(a) List any reasons State and local government cannot perform or contract for performance, (if applicabl:

(b) Specify the type of assistance requested.

In accordance with 44 CFR (1 206.208, the State of Louisiana agrees that it will, with respect to Direct
Federal assistance: ~

1. Provide without cost to the United States all lands, easement, and rights-of-ways necessary to accomr
the approved work.

2. Hold and save the United States free from damages due to the requested work, and shall indemnify th.
Federal Government against any claims arising from such work;

3. Provide reimbursement to FEMA for the non-Federal share of the cost of such work in accordance witt
the provisions of the FEMA-State Agreement; and

4. Assist the performing Federal agency in all support and local jurisdictional matters.

In addition, | anticipate the need for debris removal, which poses an immediate threat to lives, public heal
and safety.

Pursuant to Sections 502 and 407 of the Stafford Act, 42 U.S.C. [10 5192 & 5173, the State agrees to
indemnify and hold harmless the United States of America for any claims arising from the removal of deb
or wreckage for this disaster. The State agrees that debris removal from public and private property will n
occur until the landowner signs an unconditional authorization for the removal of debris.

| have designated Mr. Art Jones as the State Coordinating Officer for this request. He will work with the
Federal Emergency Management Agency in damage assessments and may provide further information c
justification on my behalf.

Sincerely,

Kathleen Babineaux Blanco Governor Enclosure
ENCLOSURE A TO EMERGENCY REQUEST

Estimated requirements for other Federal agency programs: « Department of Social Services (DSS): .
Opening (3) Special Need Shelters (SNS) and establishing (3) on Standby. Costs estimated at $500,000
week for each in operation. * Department of Health and Hospitals (DHH): Opening (3) Shelters and
establishing (3) on Standby. Costs estimated at $500,000 per week for each in operation. + Office of
Homeland Security and Emergency Preparedness (OHSEP): Providing generators and support staff for ¢
and Public Shelters. Costs estimated to range from $250,000-$500,000 to support (6) Shelter generator
operations. * Louisiana State Police (LSP): Costs to support evacuations - $300,000 for a non-direct land
* Louisiana Department of Wildlife and Fisheries (WLF): Costs to support evacuations - $200,000 for a nc
direct landfall. » Louisiana Department of Transportation and Development (DOTD): Costs to support
evacuations - $2,000,000 for a non-direct landfall.

Totals: $ 9,000,000 Estimated Requirements for assistance under the Stafford Act: Coordination: $0
Technical and advisory assistance: $0 Debris removal: $0 Emergency protective measures: $ 9,000,000
Individuals and Households Program (IHP): $0 Distribution of emergency supplies: $0 Other (specify): $0
Totals: $ 9,000,000 Grand Total: $ 9,000,000
